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  7
                           UNITED STATES DISTRICT COURT
  8                       CENTRAL DISTRICT OF CALIFORNIA
  9
 10                                         Case No.: 2:20-cv-10691-SVW-SK
 11     CARMEN JOHN PERRI, an               Hon. Stephen V. Wilson
 12    individual,
 13                                         NOTICE OF SETTLEMENT
       Plaintiff,                           AND REQUEST TO VACATE
 14                                         ALL CURRENTLY SET DATES
       v.
 15
                                            Complaint Filed: November 23,
 16    JUNG TAE HWA                         2020
       CORPORATION, a
 17                                         Trial Date: None Set
       California corporation;
 18    STEVEN A. SOKOL,
       individually and as trustee of
 19
       the ALFRED L. SOKOL
 20    AND DOROTHE SOKOL
       FAMILY TRUST DATED
 21
       8/9/1990; and DOES 1-10,
 22    inclusive,
 23
       Defendants.
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                                    NOTICE OF SETTLEMENT
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  1        The Plaintiff hereby notifies the Court that a global settlement has been
  2 reached in the above-captioned case and the Parties would like to avoid any
  3 additional expense, and to further the interests of judicial economy.
  4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
  5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
  6 parties, will be filed within 45 days.
  7
  8
  9 Dated: April 5, 2021                           MANNING LAW, APC
 10
 11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                   Joseph R. Manning, Jr., Esq.
 12                                                Attorneys for Plaintiff
 13                                                Carmen John Perri

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                                    NOTICE OF SETTLEMENT
